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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,        )
                                 )
                 Plaintiff,      )                Criminal Action
                                 )
           v.                    )                No. 14-10144-EFM
                                 )
RYAN CARL LOWMASTER,             )
                                 )
                 Defendant.      )
_________________________________)


                       UNITED STATES’ MOTION TO VACATE

       Comes now the United States of America, by and through its attorney Jason W.

Hart, Assistant United States Attorney for the District of Kansas, and moves this Court to

vacate the defendant’s conviction to Count 2 of the Information, and to dismiss Count 2

of the Information. For its motion, the United States asserts:

       1.       This motion is made pursuant to Rule 48(a) of the Federal Rules of

Criminal Procedure.

       2.       The Court has authority to hear this motion pursuant to 18 United States

Code § 3231.

       3.       The United States makes this motion in good faith and in the interests of

justice.

       4.       The defendant has no objection to this motion.

       WHEREFORE, the United States moves this Court for an order granting this

motion to vacate the defendant’s conviction as to Count 2 of the Information, charging a
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violation of Title 18 United States Code § 922(g)(1), and dismissal of Count 2 without

prejudice.


                                          Respectfully Submitted,

                                          BARRY R. GRISSOM
                                          United States Attorney

                                          s/ Jason W. Hart
                                          JASON W. HART
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                             CERTIFICATE OF SERVICE


       I hereby certify that on February 27, 2015, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system.


                                          s/ Jason W. Hart
                                          JASON W. HART
                                          Assistant United States Attorney




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